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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY

____________________________________
                                      :
ELIZABETH COHEN,                      :
                                      :              Civil Action No.: 19-2062(FLW)
                        Plaintiff,    :
                                      :
                  v.                  :
                                      :                             ORDER
STARBUCKS CORPORATION,                :
JOHN DOE(S)       I-X                 :
                                      :
                        Defendant(s). :
____________________________________:

       THIS MATTER having been opened to the Court by James W. McCartney, Esq., counsel

for Defendant Starbucks Corporation (“Starbucks”), on a Motion to dismiss Plaintiff Elizabeth

Cohen’s (“Plaintiff”) Complaint, pursuant to Federal Rule of Civil Procedure 12(b)(2) or, in the

alternative, under the doctrine of forum non conveniens; it appearing that Plaintiff, through her

counsel, William Pfister, Jr., Esq., opposes the motion; the Court having considered the

submissions of the parties without oral argument, pursuant to Fed. R. Civ. P. 78; for the reasons

set forth in the Opinion filed on this date, and for good cause shown,

       IT IS on this 25th day of June, 2019,

       ORDERED that Defendant’s Motion is GRANTED; and it is further

       ORDERED that this matter is transferred to the United States District Court for the

       Western District of Washington, in lieu of dismissal.

                                                                    /s/ Freda L. Wolfson
                                                                    Freda L. Wolfson
                                                                    U.S. Chief District Judge
